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 8

 9
                               UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
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13 DONALD GOLDEN, M.D.,
                                                Case No. 10-cv-00437-JSW
14              Plaintiffs,
                                                [PROPOSED] ORDER GRANTING
15        v.                                    MOTION TO CLARIFY OR IN THE
                                                ALTERNATIVE STAY ORDER
16 CALIFORNIA EMERGENCY PHYSICIANS
                                                ENFORCING SETTLMENT
   MEDICAL GROUP, et al.,,                      AGREEMENT
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             Defendants.
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                                                                           10-cv-00437-JSW
                 [PROPOSED] ORDER GRANTING MOTION TO CLARIFY AND/OR STAY
 1          The Court, having considered Plaintiff Donald Golden, M.D.’s Motion to Clarify or in the

 2 Alternative Stay the Order Enforcing Settlement Agreement, and all papers in support and in

 3 opposition thereto, hereby GRANTS the motion as follows:

 4          For good cause shown, and in order to preserve the status quo pending appeal pursuant to

 5 Federal Rule of Civil Procedure 62(c), Plaintiff’s Motion to Clarify or in the Alternative Stay the

 6 Order Enforcing Settlement Agreement is GRANTED. The Order Enforcing Settlement

 7 Agreement is stayed in its entirety as to all parties until such time as the mandate issues from the

 8 Ninth Circuit Court of Appeals.

 9           By this Order, the hearing scheduled for March 3, 2017 is VACATED.

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13          IT IS SO ORDERED.
          January 24, 2017
14 Dated: ________________

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                                                         By:
16                                                             Judge Jeffrey S. White
                                                               United States District Court Judge
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                     [PROPOSED] ORDER GRANTING MOTION TO CLARIFY AND/OR STAY
